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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern                  District of Texas
                                      (State)
 Case number (If known):                                   Chapter 11                                                                       Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor’s name                           CARBO Ceramics Inc.




2. All other names debtor used
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names


3. Debtor’s Federal Employer
                                           XX-XXXXXXX
   Identification Number (EIN)


4. Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           575 N. Dairy Ashford Road                           _
                                           Number        Street                                         Number      Street


                                           Suite 300                                           _
                                                                                                        P.O. Box


                                           Houston                    TX        77079
                                           City                       State      ZIP Code               City                        State         ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           Harris                                              _
                                           County


                                                                                                        Number      Street




                                                                                                        City                        State         ZIP Code




5. Debtor’s website (URL)                  www.carboceramics.com


6. Type of debtor                               Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                Partnership (excluding LLP)
                                                Other. Specify:

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       Debtor                         CARBO Ceramics Inc.                                             Case number (if known)
                                      Name


                                     A. Check one:
7. Describe debtor’s business
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                     B. Check all that apply:
                                        Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                        Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                     http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                     3279
8. Under which chapter of the        Check one:
   Bankruptcy Code is the               Chapter 7
   debtor filing?                       Chapter 9
                                        Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                       insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                       4/01/22 and every 3 years after that).
                                                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                       debtor is a small business debtor, attach the most recent balance sheet, statement
                                                       of operations, cash-flow statement, and federal income tax return or if all of these
                                                       documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                          creditors, in accordance with 11 U.S.C. § 1126(b).
                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                          Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                          for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                          12b-2.
                                        Chapter 12

9. Were prior bankruptcy cases          No
   filed by or against the debtor       Yes. District
   within the last 8 years?                                                          When                 _ Case number
                                                                                            MM / DD / YYYY
   If more than 2 cases, attach a              District
   separate list.                                                                    When                 _ Case number
                                                                                            MM / DD / YYYY

10. Are any bankruptcy cases            No
   pending or being filed by a
                                        Yes. Debtor See Schedule 1                                              Relationship
   business partner or an
   affiliate of the debtor?                    District Southern District of Texas                              When
                                                                                                                               MM /   DD   / YYYY
   List all cases. If more than 1,
   attach a separate list.                     Case number, if known




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   Debtor                            CARBO Ceramics Inc.                                   Case number (if known)
                                     Name


11. Why is the case filed in this   Check all that apply:
   district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                       district.

                                       A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        No
   possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
                                            Why does the property need immediate attention? (Check all that apply.)
   that needs immediate
   attention?                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                                 Other



                                            Where is the property?
                                                                         Number           Street

                                                                                                                                                       _

                                                                                                                    _
                                                                         City                                           State       ZIP Code


                                             Is the property insured?
                                                 No
                                                 Yes. Insurance agency

                                                         Contact name                                                                                  _

                                                         Phone




            Statistical and administrative information



13. Debtor’s estimation of          Check one:
   available funds                     Funds will be available for distribution to unsecured creditors.
                                       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       1-49                               1,000-5,000                               25,001-50,000
14. Estimated number of                50-99                              5,001-10,000                              50,001-100,000
   creditors                           100-199                            10,001-25,000                             More than 100,000
                                       200-999

                                       $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
15. Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                       $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                       $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion



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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of
        the Bankruptcy Code, this Exhibit “A" shall be completed and attached to the petition.]

                                                          [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

                1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act
        of 1934, the SEC file number is 001-15903                    .

               2. The following financial data is the latest available information and refers to the debtor’s condition
        on 12/31/19                       .

                  a. Total assets                                                                               $           145,000,000

                  b. Total debts (including debts listed in 2.c., below)                                        $           145,000,000

                  c. Debt securities held by more than 500 holders
                                                                                                                        Approximate
                                                                                                                        number of
                                                                                                                        holders:

                  secured           unsecured            subordinated                $
                  secured           unsecured            subordinated                $
                  secured           unsecured            subordinated                $
                  secured           unsecured            subordinated                $
                  secured           unsecured            subordinated                $

                  d. Number of shares of preferred stock
                  e. Number of shares common stock                                                                            29,238,368

                  Comments, if any:



                3. Brief description of debtor's business: A global technology company providing products and
        services to the oil and gas, industrial, and environmental markets, including manufacturing and selling
        ceramic technology products and services and base ceramic proppant for oilfield and industrial sectors.

                4. List the names of any person who directly or indirectly owns, controls, or holds, with power to
        vote, 5% or more of the voting securities of debtor:
        Dan H. and Staci Wilks; Farris Wilks; Fidelity Series Intrinsic Opportunities Fund; Wilks Brothers LLC;
        and William C. Morris




        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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Fill in this information to identify the case and this filing:

Debtor Name CARBO Ceramics Inc.
United States Bankruptcy Court for the: Southern________ District of Texas
                                                                             (State)
Case number (if known): ________________




                                                          Schedule 1

   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor:

                                     Asset Guard Products Inc.
                                     StrataGen, Inc.




                                                             Rider 1
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                             SECRETARY’S CERTIFICATE OF
                                CARBO CERAMICS INC.

                                         March 29, 2020

       The undersigned, being the Vice President, General Counsel, Corporate Secretary, Chief
Compliance Officer and Chief ESG Officer of CARBO Ceramics Inc., a Delaware corporation
(the “Company”), hereby certifies as follows:

        1.     I am the duly qualified and appointed Vice President, General Counsel, Corporate
Secretary, Chief Compliance Officer and Chief ESG Officer of the Company and, as such, am
familiar with the facts certified herein, and I am duly authorized to certify the same on behalf of
the Company.

       2.      The resolutions attached hereto as Annex A have been duly adopted by the Board
of Directors of the Company, have not been amended, modified, revoked, rescinded or repealed
and have been in full force and effect since their adoption, to and including the date hereof.

                                    [Signature Page Follows]




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                              ANNEX A

Chapter 11 Resolutions of the Board of Directors of CARBO Ceramics Inc.

                              (Attached)




                  ANNEX A TO SECRETARY’S CERTIFICATE
                       (CARBO CERAMICS INC.)
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                                   RESOLUTIONS OF
                              THE BOARD OF DIRECTORS OF
                                 CARBO CERAMICS INC.

   TO BE CONSIDERED AT A MEETING OF THE BOARD OF DIRECTORS TO BE
                       HELD ON MARCH 26, 2020

         WHEREAS, the board of directors (the “Board”) of CARBO Ceramics Inc., a Delaware
corporation (the “Company”), has studied and considered the financial condition of the Company
and its subsidiaries (the “Company Group”), including the Company Group’s liabilities,
contractual obligations and liquidity, the current and reasonably foreseeable future conditions in
the oil and natural gas industry and the outlook for the Company Group’s products and services;

        WHEREAS, the Board engaged a financial advisor to assist the Company in exploring
strategic alternatives and has consulted with the financial and legal advisors to the Company to
fully consider the strategic alternatives available to the Company Group;

        WHEREAS, the Board has unanimously determined that it is advisable and in the best
interests of the Company to (i) pursue a prenegotiated chapter 11 plan of reorganization of the
Company under Chapter 11 of Title 11 of the United States Code (the “Plan”) in accordance with
a Restructuring Support Agreement among the Company, Asset Guard Products Inc. (“Asset
Guard”) and StrataGen, Inc. (“StrataGen,” and together with Asset Guard, the “Filing
Subsidiaries,” and the Filing Subsidiaries, together with the Company, the “Debtors”), each a
Delaware corporation and wholly owned subsidiary of the Company, Wilks Brothers, LLC
(“Wilks”) and Equify Financial, LLC (“Equify,” and together with Wilks, the “Prepetition
Secured Lenders,” and such agreement, the “Restructuring Support Agreement”), and (ii)
execute, deliver, and file or cause to be filed with the United States Bankruptcy Court for the
Southern District of Texas, Houston Division, or another appropriate court (the “U.S. Bankruptcy
Court”), any and all documents necessary or convenient to effect, cause or promote the
reorganization of the Debtors under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”) pursuant to the Plan and in accordance with the Restructuring Support
Agreement;

        WHEREAS, the Board has reviewed the Restructuring Support Agreement among the
Debtors and the Prepetition Secured Lenders and a restructuring term sheet (the “Restructuring
Term Sheet”) which contemplate, among other things, the consummation of a series of
transactions (the “Restructuring Transactions”) described therein, pursuant to which (i) each
Prepetition Secured Lender will receive its pro rata share of 100% of the equity interests in a
reorganized Company entity (the “Reorganized Company”) in exchange for such Prepetition
Secured Lender’s claims under the Company’s existing $65 million credit facility and the DIP
Facility (as defined below), except to the extent such DIP Facility claims (the “DIP Facility
Claims”) are converted into borrowings under the Exit Facility (as defined below), with the
Reorganized Company retaining (a) 100% of the equity interests in a reorganized Asset Guard
entity and (b) 100% of the equity interests in a reorganized StrataGen entity and (ii) a liquidating
trust will be established for the benefit of general unsecured creditors of the Debtors;




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        WHEREAS, the Debtors will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),
which is security for the claims held by the Prepetition Secured Lenders;

        WHEREAS, as contemplated by the Restructuring Term Sheet, (i) Wilks has agreed to
provide post-petition financing to the Company under a debtor-in-possession credit agreement (the
“DIP Facility”), on the terms and subject to the conditions set forth in a Senior Secured Super
Priority Debtor-in-Possession Credit Agreement (the “DIP Credit Agreement”), by and among the
Company, as borrower, the Filing Subsidiaries, as guarantors, Wilks, as lender, and the other
guarantors and lenders from time to time party thereto (Wilks and any other lenders from time to
time party thereto, collectively, the “DIP Lenders”), and (ii) following the consummation of the
Restructuring Transactions, at the election of the DIP Lenders, all of a portion of the DIP Facility
Claims may be converted into interests in, or borrowings under a new exit credit facility with, the
Reorganized Company (the “Exit Facility”);

        WHEREAS, the boards of directors of each of the Filing Subsidiaries (collectively, the
“Filing Subsidiary Boards”) desire for the Filing Subsidiaries to, concurrently with the Company,
file or cause to be filed voluntary petitions for relief pursuant to Chapter 11 of Title 11 of the
Bankruptcy Code with the U.S. Bankruptcy Court and are approving such filings
contemporaneously with the adoption of these resolutions; and

        WHEREAS, after review of (i) the financial condition of the Company Group, the current
and reasonably foreseeable future conditions in the oil and natural gas industry, the outlook for the
Company Group’s products and services and the other alternatives available to the Company
Group, (ii) the terms of the Restructuring Support Agreement, the Restructuring Term Sheet and
related documentation, (iii) the availability of the DIP Facility and consensual use of the Cash
Collateral and (iv) such other considerations as the Board deems relevant, the Board, following
consultation with the financial and legal advisors to the Company, has determined that it is
advisable and in the best interests of the Company to enter into the Restructuring Support
Agreement and pursue the restructuring of the Debtors under the Bankruptcy Code as
contemplated therein and as approved in these resolutions.

Restructuring Support Agreement

       NOW, THEREFORE, BE IT RESOLVED, that the Board hereby authorizes and
approves, in all respects, the Company’s entry into the Restructuring Support Agreement, together
with any other agreements or documentation relating thereto (collectively, the “Restructuring
Support Documents”), and the performance of its obligations thereunder;

        FURTHER RESOLVED, that the Chairman and Chief Executive Officer of the Company
and any Vice President of the Company (collectively, the “Authorized Officers”), acting alone or
with one or more other Authorized Officers, are hereby authorized and empowered to take such
actions and negotiate or cause to be prepared and negotiated and to execute, file, and deliver the
Restructuring Support Documents, with such changes, additions, and modifications thereto as the
Authorized Officers executing the same shall approve, such approval to be conclusively evidenced
by such Authorized Officer’s execution or delivery thereof, cause the Company to perform its
obligations under the Restructuring Support Documents, or any amendments or modifications


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thereto that may be contemplated by, or required in connection with, the Restructuring
Transactions or the chapter 11 case, and incur and pay or cause to be paid all fees and expenses
and engage such persons, in each case, as any such Authorized Officer shall in his or her judgment
determine to be necessary or appropriate to consummate the Restructuring Transactions, which
determination shall be conclusively evidenced by such Authorized Officer’s execution or delivery
thereof;

Chapter 11 Authorization

        FURTHER RESOLVED, that the Board has determined that it is advisable and in the
best interests of the Company to file voluntary petitions for relief pursuant to Chapter 11 of Title
11 of the Bankruptcy Code with the U.S. Bankruptcy Court (the “Petitions”), consistent with the
resolutions set forth herein;

        FURTHER RESOLVED, that the Company is hereby authorized to file or cause to be
filed the Petitions with the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers, are hereby authorized to execute, deliver, and file or cause to be filed
with the U.S. Bankruptcy Court, on behalf of the Company, the Petitions, in such form as
prescribed by the Official Forms promulgated in connection with the Bankruptcy Code;

       FURTHER RESOLVED, that, upon the filing of the Petitions as authorized by the
preceding resolution, each Authorized Officer, acting alone or with one or more other Authorized
Officers, is hereby authorized to execute, deliver, and file or cause to be filed with the U.S.
Bankruptcy Court, on behalf of the Company, all papers, motions, applications, schedules, and
pleadings necessary, appropriate, or convenient to facilitate the chapter 11 case and all of its
matters and proceedings, and any and all other documents necessary, appropriate, or convenient
in connection with the commencement of the chapter 11 case, each in such form or forms as such
Authorized Officer may approve;

        FURTHER RESOLVED, that the Authorized Officers are authorized and empowered to
execute and to deliver to, and file with or cause to be filed with, the U.S. Bankruptcy Court, on
behalf of the Company, all papers and pleadings that such Authorized Officers believe to be
necessary or advisable to effect, cause or further the reorganization of the Company under Chapter
11 of Title 11 of the Bankruptcy Code including any and all other documents necessary to
effectuate the Plan, including a disclosure statement related thereto, together with any amendments
or modifications thereto, or any restatements thereof, in each case, as the Authorized Officers may
approve;

         FURTHER RESOLVED, that each of the Filing Subsidiaries is authorized to file or cause
to be filed voluntary petitions for relief pursuant to Chapter 11 of Title 11 of the Bankruptcy Code
with the U.S. Bankruptcy Court, consistent with the resolutions set forth herein, and the Filing
Subsidiaries and the Filing Subsidiary Boards are authorized and empowered to take such actions
as are necessary to accomplish same consistent with the resolutions set forth herein;




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Debtor-in-Possession Financing; Cash Collateral; Adequate Protection

        FURTHER RESOLVED, that the Board hereby authorizes and approves, in all respects,
the Company’s entry into the DIP Credit Agreement, together with any other agreements or
documentation relating thereto (collectively, the “DIP Loan Documents”), and the performance
of its obligations thereunder;

       FURTHER RESOLVED, that the Authorized Officers, acting alone or with one or more
other Authorized Officers, are hereby authorized and empowered to take such actions and
negotiate or cause to be prepared and negotiated and to execute, file, and deliver the DIP Loan
Documents, with such changes, additions, and modifications thereto as the Authorized Officers
executing the same shall approve, such approval to be conclusively evidenced by such Authorized
Officer’s execution or delivery thereof, cause the Company to perform its obligations under the
DIP Loan Documents, or any amendments or modifications thereto that may be contemplated by,
or required in connection with, the Restructuring Transactions or the chapter 11 case, and incur
and pay or cause to be paid all fees and expenses and engage such persons, in each case, as any
such Authorized Officer shall in his or her judgment determine to be necessary or appropriate to
consummate the Restructuring Transactions, which determination shall be conclusively evidenced
by such Authorized Officer’s execution or delivery thereof;

        FURTHER RESOLVED, that the Company shall be, and hereby is, authorized to: (i)
undertake any and all transactions contemplated by the DIP Loan Documents, on substantially the
terms and subject to the conditions set forth in the DIP Loan Documents or as may hereafter be
fixed or authorized by the Board or any of the Authorized Officers, acting alone or with one or
more other Authorized Officers; (ii) borrow funds from, provide guaranties to, pledge its assets as
collateral to and undertake any and all related transactions contemplated thereby (collectively, the
“Financing Transactions”) with the DIP Lenders and on such terms as may be approved by any
one or more of the Authorized Officers, as necessary or appropriate for the continuing conduct of
the affairs of the Company; (iii) execute and deliver and cause the Company to incur and perform
its obligations under the DIP Loan Documents and Financing Transactions; (iv) finalize the DIP
Loan Documents and Financing Transactions, consistent in all material respects with the drafts
thereof that have been presented to and reviewed by the Board; and (v) pay related fees and grant
security interests in and liens upon some, any or all of the Company’s assets, as may be deemed
necessary by any one or more of the Authorized Officers in connection with such Financing
Transactions;

        FURTHER RESOLVED, that each of the Authorized Officers, acting alone or with one
or more other Authorized Officers be, and they hereby are, authorized and empowered in the name
of, and on behalf of, the Company, as a debtor and debtor in possession, to take such actions and
negotiate or cause to be prepared and negotiated and to execute, file, deliver and cause the
Company to incur and perform its obligations under the DIP Loan Documents, any secured cash
management agreements, and all other agreements, instruments and documents (including, without
limitation, any and all other joinders, mortgages, deeds of trust, consents, notes, pledge
agreements, security agreements, control agreements and any agreements with any entity
(including governmental authorities) requiring or receiving cash collateral or other credit support
with proceeds from the DIP Credit Agreement) or any amendments thereto or waivers thereunder
(including, without limitation, any amendments, waivers or other modifications of any of the DIP


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Loan Documents) that may be contemplated by, or required in connection with, the DIP Credit
Agreement, the other DIP Loan Documents and the Financing Transactions, and incur and pay or
cause to be paid all fees and expenses and engage such persons, in each case, as such Authorized
Officer shall in his or her judgment determine to be necessary or appropriate to consummate the
transactions contemplated by the DIP Credit Agreement and the other DIP Loan Documents,
which determination shall be conclusively evidenced by such Authorized Officer’s execution or
delivery thereof;

        FURTHER RESOLVED, that each of the Authorized Officers be, and each of them
hereby is, authorized and empowered to authorize the DIP Lenders to file any UCC financing
statements, mortgages, notices, and any necessary assignments for security or other documents in
the name of the Company that the DIP Lenders deem necessary or appropriate to perfect any lien
or security interest granted under the DIP Loan Documents, including any such UCC financing
statement containing a generic description of collateral, such as “all assets,” “all property now or
hereafter acquired” and other similar descriptions of like import, and to execute and deliver, and
to record or authorize the recording of, such mortgages and deeds of trust in respect of real property
of the Company and such other filings in respect of intellectual and other property of the Company,
in each case as the DIP Lenders may reasonably request to perfect the security interests granted
under the DIP Loan Documents;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby are,
authorized and empowered, in consultation with the Board, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the DIP Credit Agreement or any of the other DIP Loan Documents or any of
the other DIP financing documents, and to execute and file on behalf of the Company all petitions,
schedules, lists and other motions, papers or documents, which shall in his or her sole judgment
be necessary, proper or advisable, which determination shall be conclusively evidenced by such
Authorized Officer’s execution or delivery thereof;

        FURTHER RESOLVED, that the Company will obtain benefits from the incurrence of
the loans and other financial accommodations under the DIP Credit Agreement by the Company
and the occurrence and consummation of the Financing Transactions under the DIP Credit
Agreement and the other DIP Loan Documents, which are necessary and appropriate to the
conduct, promotion and attainment of the business of the Company;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Company is authorized
to provide certain adequate protection to the Prepetition Secured Lenders (the “Adequate
Protection Obligations”), as documented in a proposed interim order (any such order, the “Interim
DIP Order”) and a proposed final order (any such order, the “Final DIP Order,” and together
with the Interim DIP Order, the “DIP Orders”) described to the Board and submitted for approval
to the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
the Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are authorized, adopted, and approved, and each of the Authorized Officers be, and hereby
is, authorized and empowered, in the name of and on behalf of the Company, to take such actions


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and negotiate, or cause to be prepared and negotiated, and to execute, deliver, perform, and cause
the performance of, the DIP Orders and the DIP Loan Documents (together with the DIP Orders,
collectively, the “DIP Documents”), and incur and pay or cause to be paid all fees and expenses
and engage such persons, in each case, on substantially the terms and subject to the conditions
described to the Board, with such changes, additions, and modifications thereto as the Authorized
Officers executing the same shall approve, such approval to be conclusively evidenced by such
Authorized Officer’s execution or delivery thereof;

        FURTHER RESOLVED, that the Company, as a debtor and debtor in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations
and to undertake any and all related transactions on substantially the same terms as contemplated
under the DIP Documents (collectively, the “Adequate Protection Transactions”);

       FURTHER RESOLVED, that the Authorized Officers be, and they hereby are, authorized
and empowered, and each of them acting alone be, and hereby is, authorized and empowered in
the name of, and on behalf of, the Company, to take such actions as in their discretion is determined
to be necessary, appropriate, or advisable and execute the Adequate Protection Transactions,
including delivery of: (i) the DIP Documents and such agreements, certificates, instruments,
guaranties, notices, and any and all other documents, including, without limitation, any
amendments to any DIP Documents (collectively, the “Adequate Protection Documents”); (ii)
such other instruments, certificates, notices, assignments, and documents as may be reasonably
requested by the Prepetition Secured Lenders; and (iii) such forms of deposit, account control
agreements, officer’s certificates, and compliance certificates as may be required by the DIP
Documents or any other Adequate Protection Documents;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and empowered in the name of, and on behalf of, the Company, to take all such further
actions, including, without limitation, to pay or approve the payment of all fees and expenses
payable in connection with the Adequate Protection Transactions and all fees and expenses
incurred by or on behalf of the Company in connection with these resolutions, in accordance with
the terms of the Adequate Protection Documents, which shall in their sole judgment be necessary,
appropriate, or advisable to perform any of the Company’s obligations under or in connection with
the DIP Orders or any of the other Adequate Protection Documents and the transactions
contemplated thereby and to carry out fully the intent of these resolutions;

Retention of Professionals

        FURTHER RESOLVED, that the engagement of Vinson & Elkins L.L.P. (“V&E”) as
general bankruptcy counsel to represent and assist the Company in carrying out its duties under
the Bankruptcy Code in the U.S. Bankruptcy Court, and to take any and all actions to advance the
Company’s rights and obligations, including filings and pleadings, is hereby approved, and each
of the Authorized Officers is hereby authorized and empowered to take such actions as may be
required to so engage V&E for such purposes; and in connection therewith, each of the Authorized
Officers, with power of delegation, is hereby authorized and empowered to execute appropriate
retention agreements, pay appropriate retainers to, and cause to be filed an appropriate application
for authority to retain the services of V&E;



                                                 6
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        FURTHER RESOLVED, that the engagement of Okin Adams LLP (“Okin Adams”) as
special bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code in the U.S. Bankruptcy Court, and to take any and all actions to advance the
Company’s rights and obligations, including filings and pleadings, is hereby approved, and each
of the Authorized Officers is hereby authorized and empowered to take such actions as may be
required to so engage Okin Adams for such purposes; and in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized and empowered to execute
appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of Okin Adams;

        FURTHER RESOLVED, that the engagement of Perella Weinberg Partners L.P. and
Tudor Pickering, Holt & Co. (collectively, “PWP”) as investment banker to represent and assist
the Company in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy Court,
and to take any and all actions to advance the Company’s rights and obligations, is hereby
approved, and each of the Authorized Officers is hereby authorized and empowered to take such
actions as may be required to so engage PWP for such purposes; and in connection therewith, each
of the Authorized Officers, with power of delegation, is hereby authorized and empowered to
execute appropriate retention agreements, pay appropriate retainers to, and cause to be filed an
appropriate application for authority to retain the services of PWP;

        FURTHER RESOLVED, that the engagement of FTI Consulting, Inc. (“FTI”) as
financial advisor to represent and assist the Company in carrying out its duties under the
Bankruptcy Code in the U.S. Bankruptcy Court, and to take any and all actions to advance the
Company’s rights and obligations, is hereby approved, and each of the Authorized Officers is
hereby authorized and empowered to take such actions as may be required to so engage FTI for
such purposes; and in connection therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized and empowered to execute appropriate retention agreements, pay
appropriate retainers to, and cause to be filed an appropriate application for authority to retain the
services of FTI;

         FURTHER RESOLVED, that the engagement of any or all of Ernst & Young LLP,
KPMG LLP and Weaver and Tidwell, L.L.P. as accountants and tax advisors to represent and
assist the Company in carrying out its duties under the Bankruptcy Code in the U.S. Bankruptcy
Court, and to take any and all actions to advance the Company’s rights and obligations, is hereby
authorized, and each of the Authorized Officers is hereby authorized and empowered to take such
actions as may be required to so engage such firms for such purposes; and in connection therewith,
each of the Authorized Officers, with power of delegation, is hereby authorized and empowered
to execute appropriate retention agreements, pay appropriate retainers to, and cause to be filed an
appropriate application for authority to retain the services of such firms;




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        FURTHER RESOLVED, that the engagement of Prime Clerk LLC (“Prime Clerk”) as
notice and claims agent to represent and assist the Company in carrying out its duties under the
Bankruptcy Code in the U.S. Bankruptcy Court, and to take any and all actions to advance the
Company’s rights and obligations, is hereby approved, and each of the Authorized Officers is
hereby authorized and empowered to take such actions as may be required to so engage Prime
Clerk for such purposes; and in connection therewith, each of the Authorized Officers, with power
of delegation, is hereby authorized and empowered to execute appropriate retention agreements,
pay appropriate retainers to, and cause to be filed an appropriate application for authority to retain
the services of Prime Clerk;

        FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized and
empowered to employ any other professionals to assist the Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with
power of delegation, is hereby authorized and empowered to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary;

General

        FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized, on
behalf of the Company, to certify and attest to any documents that he or she may deem necessary,
appropriate, or convenient to consummate any transactions necessary to effectuate the foregoing
resolutions; provided, such attestation shall not be required for the validity of any such documents;
and

       FURTHER RESOLVED, that all actions heretofore taken by any officer, employee or
representative of the Company in its name or for its account in connection with any of the above
matters are hereby in all respects ratified, confirmed and approved.

                        [The remainder of this page is intentionally blank.]




                                                  8
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                            Case 20-31973 Document 1 Filed in TXSB on 03/29/20 Page 21 of 48


      Fill in this information to Identify the case:

      Debtor Name: CARBO Ceramics Inc.
                                                                                                                                            Check if this is an
      United States Bankruptcy Court for the:          Southern District of Texas                                                           amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,       Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                             professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                             services, and         or disputed     setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if       Deduction          Unsecured
                                                                                                                   partially secured     for value of       claim
                                                                                                                                         collateral or
                                                                                                                                         setoff

  1       MIDWEST PROPPANT, LLC               CONTACT: MIKE HARMAN           TRADE DEBT             DISPUTED                                                      $820,120.00
          555 E. OUTER 21 RD                  PHONE: 636-287-1848
          ARNOLD, MO 63010                    MIKE@MW-PROP.COM
  2       GREENBRIER MANAGEMENT               CONTACT: JOHN LAWRENCE         TRADE DEBT                                                                           $664,391.00
          SERVICES                            PHONE: 503-670-3193
          C/O GREEN UNION TRUST               JOHN.LAWRENCE@GBRX.CO
          445 SOUTH FIGUEROA STREET, STE      M
          401
          LOS ANGELES, CA 90071
  3       WELL SITE SUPPLY, INC.              CONTACT: TRENT ELLIOT    TRADE DEBT                   DISPUTED                                                      $362,984.00
          ATTN: W. TRENT ELLIOTT, PRES.       PHONE: 740-236-0306
          180 BLUE KNOB ROAD                  TELLIOT@WELLSITESUPPLY.C
          MARIETTA, OH 42750                  OM
  4       GREENBRIER MANAGEMENT               CONTACT: JOHN LAWRENCE         TRADE DEBT                                                                           $346,800.00
          SERVICES LLC                        PHONE: 503-670-3193
          13820 COLLECTIONS CENTER DR.        JOHN.LAWRENCE@GBRX.CO
          CHICAGO, IL 60693                   M
  5       CHEMLINE INC                        CONTACT: JOHN                  TRADE DEBT                                                                           $301,759.00
          5151 NATURAL BRIDGE AVE             PANTANELLA
          ST. LOUIS, MO 63115                 PHONE: 314-664-2230
                                              JOHNP@CHEMLINE.NET
  6       WISCONSIN PROPPANTS, LLC            CONTACT: ALLANA BLACK          TRADE DEBT                                                                           $291,936.00
          301 SOUTH BEDFORD STREET, SUITE     PHONE: 403-509-4374
          1                                   ARANKIN@SLB.COM
          MADISON, WI 53703
  7       THERMAFOAM OPERATING, LLC           CONTACT: MIKE POWER TRADE DEBT                                                                                      $283,235.00
          1240 N. HWY 77                      PHONE: 254-582-2730
          HILLSBORO, TX 76645-3605            MPOWER@THERMAFOAM.C
                                              OM




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                       Page 1
                         Case 20-31973 Document 1 Filed in TXSB on 03/29/20 Page 22 of 48
  Debtor: CARBO Ceramics Inc.                                                                 Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  8     WILDCAT MINERALS LLC               CONTACT: PETE MELCHER TRADE DEBT                  DISPUTED                                                      $266,630.00
        5960 BERKSHIRE BLVD, STE 800       PHONE: 720-299-0056
        DALLAS, TX 75225-6068              PMELCHER@WILDCATMINER
                                           ALS.COM
  9     KTJ 251 LLC                        CONTACT: JOE RYAN          TRADE DEBT                                                                           $254,705.00
        400 WATER STREET, STE 200          PHONE: 952-294-1241
        EXCELSIOR, MN 55331                JOE@OPPIDAN.COM
  10    GREENBRIER LEASING COMPANY LLC CONTACT: JOHN LAWRENCE         TRADE DEBT                                                                           $207,399.00
        13799 COLLECTIONS CENTER DRIVE PHONE: 503-670-3193
        CHICAGO, IL 60693              JOHN.LAWRENCE@GBRX.CO
                                       M
  11    CAPRO INDUSTRIES                   CONTACT: JULES TEFFAHA     TRADE DEBT                                                                           $178,038.00
        3128 E HARCOURT ST                 PHONE: 800-935-3422 EXT
        RANCHO DOMINGUEZ, CA 90220         780
                                           JULES@CAPRO.NET
  12    ARCILLA MINING & LAND COMPANY      CONTACT: TED SMITH         TRADE DEBT                                                                           $138,500.00
        LLC                                PHONE: 478-946-3664
        9474 HIGHWAY 57                    TSMITH@ARCILLAMINING.C
        MCINTYRE, GA 31054                 OM
  13    WELLS FARGO RAIL CORPORATION       CONTACT: DAN           TRADE DEBT                                                                               $136,257.00
        6250 N RIVER RD STE 5000           SCHLOSSBERG
        ROSEMONT, IL 60018                 PHONE: 312-630-2415
                                           DAN.SCHLOSSBERG@WELLSF
                                           ARGO.COM
  14    INDUSTRIAL CHEMICALS, INC.         CONTACT: JEFF LLOYD        TRADE DEBT                                                                           $127,252.00
        2042 MONTREAT DRIVE                PHONE: 704-999-4563
        VESTAVIA, AL 35216                 JEFFLLOYD@INDUSTRIALCHE
                                           M.COM
  15    RITEKS, INC.                     CONTACT: RYAN BOSS           TRADE DEBT                                                                           $122,780.00
        14550 TORREY CHASE BLVD, STE 460 PHONE: 281-569-3500
        HOUSTON, TX 77066                RBOSS@RITEKS.COM


  16    DAKOT WEAR CERAMICS (PTY) LTD      CONTACT: COBUS KOTZE   TRADE DEBT                                                                               $119,050.00
        1 LAMB STREET                      PHONE: +27 35 337 0053
        GINGINDLOVU 3800                   COBUSKOTZE@DAKOT.CO.ZA
        SOUTH AFRICA
  17    CFG COMMUNITY BANK                 CONTACT: MICHAEL HOEHN     TRADE DEBT                                                                           $117,300.00
        1422 CLARKVIEW ROAD                PHONE: 410-823-0500
        BALTIMORE, MD 21209                MICHAEL.HOEHN@CFGCOM
                                           MUNITYBANK.COM
  18    BULK CHEMICAL SERVICES LLC         CONTACT: NICK MAHLBERG     TRADE DEBT                                                                           $115,206.00
        1355 TERRELL MILL ROAD             PHONE: 478-491-6425
        MARIETTA, GA 30067                 NMAHLBERG@BCSCHEM.CO
                                           M
  19    BLUEMODUS, INC.                    CONTACT: CARLOS OROZCO     TRADE DEBT                                                                             $85,850.00
        1641 CALIFORNIA ST                 PHONE: 303-759-2100 EXT.
        STE 400                            339
        DENVER, CO 80202                   COROZCO@BLUEMODUS.CO
                                           M
  20    OCONEE ELECTRIC MEMBERSHIP         CONTACT: TERRI HOWARD      TRADE DEBT                                                                             $85,011.00
        ATTN MARTY SMITH, CEO              PHONE: 478-676-1164
        3445 HWY 80 W                      TERRI.HOWARD@OCONEEE
        DUDLEY, GA 31022-0037              MC.COM



Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 2
                         Case 20-31973 Document 1 Filed in TXSB on 03/29/20 Page 23 of 48
  Debtor: CARBO Ceramics Inc.                                                                Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  21    IMERYS KAOLIN INC                  CONTACT: KERMIT           TRADE DEBT                                                                             $77,061.00
        100 MANSELL CT                     CARPENTER (BILLING
        ROSWELL, GA 30076                  CONTROLLER)
                                           PHONE: 770-645-3677
                                           KERMIT.CARPENTER@IMERY
                                           S.COM
  22    INTERSTATE INDUSTRIAL SANDS LLC    CONTACT: NATE HOLMBERG    TRADE DEBT                                                                             $72,049.00
        3131 FERNBROOK LANE, STE 238       PHONE: 763-432-6552
        PLYMOUTH, MN 55447                 NATE@IEPHOLDINGS,COM
  23    GILSCOT-GUIDROZ INT'L              CONTACT: KEITH GUIDROZ,   TRADE DEBT                                                                             $69,855.00
        5124 TARAVELLA RD                  JR.
        MARRERO, LA 70072                  PHONE: 504-731-1997
                                           KEITHJR@GILSCOT.COM
  24    FRACHT FWO INC                     CONTACT: NEVILLE          TRADE DEBT                                                                             $63,975.00
        16701 GREENSPOINT PARK DRIVE,      DARLASTON
        STE. 300                           PHONE: 281-248-2020
        HOUSTON, TX 77060                  NEVILLE.DARLASTON@FRAC
                                           HT.COM
  25    CHICAGO FREIGHT CAR LEASING     CONTACT: JIM KENNEDY         TRADE DEBT                                                                             $60,500.00
        425 N. MARTINGALE RD, 6TH FLOOR PHONE: 847-384-4441
        SCHAUMBURG, IL 60173            JAMES.KENNEDY@CRDX.CO
                                        M
  26    ADVANCED HANDLING SYSTEMS          CONTACT: NED DANIEL       TRADE DEBT                                                                             $55,255.00
        INC.                               PHONE: 706-881-1914
        106 VICTORIA DRIVE                 NEDDANIEL2@GMAIL.COM
        LAGRANGE, GA 30240
  27    BEAVER STEEL SERVICES, INC.        CONTACT: TODD DAVIS       TRADE DEBT                                                                             $51,975.00
        1200 ARCH ST #1                    PHONE: 412-429-8860
        CARNEGIE, PA 15106                 TODDD@BEAVERSTEEL.COM


  28    BO'S WOOD PRODUCTS, INC.           CONTACT: KRAIG HITTLER TRADE DEBT                                                                                $48,351.00
        2427 HWY 140 NW                    PHONE: 478-456-0842
        ADAIRSVILLE, GA 30103              KRAIG@BOWOODPRODUCTS
                                           .COM
  29    CITY OF MILLEN                     CONTACT: JEFF BRANTLEY  TRADE DEBT                                                                               $47,869.00
        548 COTTON AVE                     PHONE: 478-982-6100
        MILLEN, GA 30442                   JBRANTLEY@CITYOFMILLENG
                                           A.GOV
  30    KURARAY AMERICA INC                CONTACT: ARCADIO SALAS  TRADE DEBT                                                                               $46,525.00
        2625 BAY AREA BLVD, STE 600        PHONE: 281-204-6732
        HOUSTON, TX 77058                  ARCADIO.SALAS@KURARAY.C
                                           OM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 3
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

  In re:                                                   §        Case No. 20-[____]
                                                           §
  CARBO CERAMICS INC.                                      §        (Chapter 11)
                                                           §
                                                           §        (Joint Administration Requested)
           Debtor.                                         §


                     CORPORATE OWNERSHIP STATEMENT (RULES 1007 (a)(1) and 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007 (a)(1) and 7007.1, the following is a corporation, other than the
debtor or a governmental unit, that directly or indirectly owns 10% or more of any class of the corporation's equity interests:

                                                   Wilks Brothers, LLC
                                                   17018 Interstate 20,
                                                   Cisco, Texas 76437
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                                              United States Bankruptcy Court
                                                       Southern District of Texas
In re: CARBO Ceramics Inc.                                                                           Case No.
                                                                    Debtor(s)
                                                                                                     Chapter      11


                                     LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) of the Federal Rules of
Bankruptcy Procedure for filing in this Chapter 11 Case.

Name and last known address or place of                                         Security Class           Number of             Kind of
business of holder                                                                                       Securities            Interest
AMERIPRISE (0756)                                                               COMMON                         24,531      COMMON STOCK
ATTN GREG WRAALSTAD OR PROXY MGR
901 3RD AVE SOUTH
MINNEAPOLIS, MN 55474

AMIR MOHAMMADNEJAD                                                              COMMON                            626      COMMON STOCK
2455 DUNSTAN ROAD
APT 633
HOUSTON, TX 77005

AMY N HATAWAY                                                                   COMMON                          1,144      COMMON STOCK
2050 CREEKSTONE POINT DR
CUMMING, GA 30041-8699

ANDREW WINKLER                                                                  COMMON                            455      COMMON STOCK
1427 CR214
GIDDINGS, TX 78942

AXOS/COR CLEARING (0052)                                                        COMMON                         12,636      COMMON STOCK
ATTN CORPORATE ACTIONS DEPT.
1200 LANDMARK CENTER, STE. 800
OMAHA, NE 68102-1916

BANK OF AMERICA, NA/GWIM TST OPER (0955)                                        COMMON                       116,256       COMMON STOCK
ATTN CORPORATE ACTIONS MANAGER
901 MAIN STREET
12TH FLOOR
DALLAS, TX 75202

BANK OF NEW YORK MELLON (0901)                                                  COMMON                       554,806       COMMON STOCK
ATTN EVENT CREATION
500 GRANT STREET
ROOM 151-1700
PITTSBURGH, PA 15258

BARCLAYS CAPITAL (0229, 8455)                                                   COMMON                            408      COMMON STOCK
ATTN CORPORATE ACTIONS/REORG
745 7TH AVENUE, 3RD FLOOR
NEW YORK, NY 10019




Sheet 1 of 22 in List of Equity Security Holders
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In re: Carbo Ceramics, Inc.                                                             Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

BB&T SECURITIES (0702)                                                 COMMON                        50    COMMON STOCK
ATTN JESSE W. SPROUSE OR PROXY MGR
8006 DISCOVERY DRIVE
SUITE 200
RICHMOND, VA 23229

BBS SECURITIES INC./CDS** (5085)                                       COMMON                      1,760   COMMON STOCK
ATTN DEBORAH CARLYLE OR PROXY MGR
4100 YONGE STREET
SUITE 504A
TORONTO, ON M2P 2G2
CANADA

BENJAMIN ELDRED                                                        COMMON                      5,709   COMMON STOCK
1725 CRESCENT PLAZA DRIVE APT 1159
HOUSTON, TX 77077-2480

BILLY PETERS                                                           COMMON                      6,105   COMMON STOCK
4224 WATERSTONE RD
KELLER, TX 76244

BINH JENNY LE                                                          COMMON                      2,021   COMMON STOCK
1615 GRAFTON SHOP RD
FOREST HILL, MD 21050

BMO NESBITT BURNS INC. /CDS (5043)                                     COMMON                  37,570      COMMON STOCK
ATTN PHUTHORN PENIKETT
250 YONGE ST., 14TH FLOOR
TORONTO, ON M5B 2M8
CANADA

BNP (2147, 2787)                                                       COMMON                  17,005      COMMON STOCK
ATTN PROXY DEPARTMENT
525 WASHINGTON BLVD
9TH FLOOR
JERSEY CITY, NJ 07310

BNP PARIBAS, NEW YORK BRANCH (2147)                                    COMMON                 168,900      COMMON STOCK
ATTN PROXY DEPARTMENT
525 WASHINGTON BLVD
9TH FLOOR
JERSEY CITY, NJ 07310




Sheet 2 of 22 in List of Equity Security Holders
              Case 20-31973 Document 1 Filed in TXSB on 03/29/20 Page 28 of 48

In re: Carbo Ceramics, Inc.                                                             Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

BOFA/ML (0161, 5198, 5143, 8862)                                       COMMON               1,092,500      COMMON STOCK
ATTN EARL WEEKS OR PROXY DEPT.
C/O MERRILL LYNCH CORPORATE ACTIONS
4804 DEER LAKE DR. E.
JACKSONVILLE, FL 32246

BRETT WILSON                                                           COMMON                  10,250      COMMON STOCK
18819 VALLEY COVE DRIVE
CYPRESS, TX 77433-2980

BRIAN DAVIDSON                                                         COMMON                      3,689   COMMON STOCK
[ADDRESS REDACTED]

BRIAN DZUBIN                                                           COMMON                       781    COMMON STOCK
12039 THORNECREST DR
TOMBALL, TX 77375-1731

BRIAN HICKS                                                            COMMON                       419    COMMON STOCK
1508 ASH RUN CT
PEARLAND, TX 77581

BRIAN HORTON                                                           COMMON                       165    COMMON STOCK
PO BOX 2628
VIDALIA, GA 30475-2628

BROWN BROTHERS HARRIMAN & CO. (0010)                                   COMMON               2,879,151      COMMON STOCK
ATTN CORPORATE ACTIONS / VAULT
140 BROADWAY
NEW YORK, NY 10005

BRUCE EDWIN WHITE &                                                    COMMON                       150    COMMON STOCK
CINDY WHITE JT TEN
45 LAKESIDE DRIVE
EUFAULA, AL 36027-9566

BRUCE WHITE                                                            COMMON                      1,353   COMMON STOCK
45 LAKESIDE DRIVE
EUFAULA, AL 36027-9566

CAITLIN TRIBOUT                                                        COMMON                       128    COMMON STOCK
823 E HAMPTON DR
PEARLAND, TX 77584




Sheet 3 of 22 in List of Equity Security Holders
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In re: Carbo Ceramics, Inc.                                                             Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

CAJA DE VALORES S.A. (5610)                                            COMMON                       258    COMMON STOCK
ATTN MELINA BOBBIO OR PROXY MGR
AVE 25 DE MAYO 362
C1002ABH
BUENOS AIRES
ARGENTINA

CANACCORD GENUITY CORP./CDS (5046)                                     COMMON                       500    COMMON STOCK
ATTN BEN THIESSEN OR PROXY DEPT.
10337 PACIFIC CENTRE
2200-609 GRANVILLE STREET
VANCOUVER, BC V7Y 1H2
CANADA

CARL FLANAGAN                                                          COMMON                      2,337   COMMON STOCK
6642 HARBOURSIDE LANE
MISSOURI CITY, TX 77459

CARLA S MASHINSKI                                                      COMMON                  15,000      COMMON STOCK
[ADDRESS REDACTED]

CDS CLEARING AND DEPOSITORY (5099)                                     COMMON                  13,574      COMMON STOCK
ATTN LORETTA VERELLI OR PROXY MGR
600 BOUL. DE MAISONNEUVE
OUEST BUREAU 210
MONTREAL, QC H3A 3J2
CANADA

CETERA (0701)                                                          COMMON                      1,886   COMMON STOCK
ATTN ANGELA HANDELAND OR PROXY MGR
400 1ST STREET SOUTH
SUITE 300
ST. CLOUD, MN 56301

CHAD CANNAN                                                            COMMON                         3    COMMON STOCK
22 JONQUIL PL
TOMBALL, TX 77375-1156

CHAD DEATON                                                            COMMON                  35,848      COMMON STOCK
[ADDRESS REDACTED]

CHARLES SCHWAB & CO., INC. (0164)                                      COMMON               2,102,658      COMMON STOCK
ATTN CHRISTINA YOUNG OR PROXY MGR
2423 EAST LINCOLN DRIVE
PHOENIX, AZ 85016-1215



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In re: Carbo Ceramics, Inc.                                                             Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

CIBC WORLD MKTS. /CDS (5030)                                           COMMON                  53,946      COMMON STOCK
ATTN REED JON OR PROXY DEPT.
22 FRONT ST. W. 7TH FL
TORONTO, ON M5J 2W5
CANADA

CITADEL SECURITIES LLC (0395)                                          COMMON                         2    COMMON STOCK
ATTN KEVIN NEWSTEAD OR PROXY MGR
131 SOUTH DEARBORN STREET
35TH FLOOR
CHICAGO, IL 60603

CITIBANK (0505)                                                        COMMON               3,092,062      COMMON STOCK
ATTN DARYL SLATER OR REORG MGR
3800 CITIBANK CENTER
B3-12
TAMPA, FL 33610

CITIBANK, N.A. (0908)                                                  COMMON                 473,161      COMMON STOCK
ATTN SHERIDA SINANAN OR PROXY DEPT.
3801 CITIBANK CENTER
B/3RD FLOOR/ZONE 12
TAMPA, FL 33610

CLAUDE KRAUSE                                                          COMMON                      2,839   COMMON STOCK
101 SAWGRASS LN
BROUSSARD, LA 70518-6146

CLEARSTREAM BANKING AG                                                 COMMON                 286,795      COMMON STOCK
ATTN NICO STAES
MERGENTHALLERALLEE 61
ESCBORN D-65760
GERMANY

COMMERCE (2170)                                                        COMMON                       210    COMMON STOCK
ATTN ANDY SORKIN OR PROXY MGR
INVESTMENT MANAGEMENT GROUP
922 WALNUT
KANSAS CITY, MO 64106

CRAIG WYSONG                                                           COMMON                       495    COMMON STOCK
4019 COOSA DRIVE
BONAIRE, GA 31005




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In re: Carbo Ceramics, Inc.                                                             Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

CREDENTIAL SECURITIES INC (5083)                                       COMMON                      6,630   COMMON STOCK
ATTN DANIELLE MONTANARI OR PROXY MGR
700 - 1111 W. GEORGIA ST
VANCOUVER, BC V6E 4T6
CANADA

CREDIT SUISSE (0355)                                                   COMMON                        26    COMMON STOCK
ATTN EMILY CONNORS OR PROXY DEPT.
C/O REORGANIZATION DEPT.
7033 LOUIS STEPHENS DRIVE
RESEARCH TRIANGLE PARK, NC 27709

CREST INTL NOMINEES LIMITED (2012)                                     COMMON                      3,935   COMMON STOCK
ATTN NATHAN ASHWORTH OR PROXY MGR
33 CANNON STREET
LONDON EC4M 5SB
UNITED KINGDOM

D. A. DAVIDSON & CO. (0361)                                            COMMON                  12,236      COMMON STOCK
ATTN RITA LINSKEY OR PROXY MGR
8 THIRD STREET NORTH
GREAT FALLS, MT 59401

DALE EDEN                                                              COMMON                  14,813      COMMON STOCK
[ADDRESS REDACTED]

DANA JOHNSEY                                                           COMMON                      1,369   COMMON STOCK
3814 EMERALD BRANCH LN
KATY, TX 77450-8039

DANIEL PICKELNER                                                       COMMON                        70    COMMON STOCK
7830 LUDINGTON DR
HOUSTON, TX 77071-2541

DANIELLE MOREAU                                                        COMMON                      1,397   COMMON STOCK
141 WILLOW BEND
YOUNGSVILLE, LA 70592

DAT LE                                                                 COMMON                       602    COMMON STOCK
2422 HORNED OWL DR
KATY, TX 77494

DAVENPORT & COMPANY LLC (0715)                                         COMMON                      1,600   COMMON STOCK
ATTN KIM NIEDING OR PROXY MGR
901 EAST CARY ST
11TH FLOOR
RICHMOND, VA 23219

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In re: Carbo Ceramics, Inc.                                                             Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

DAVID GIROUARD                                                         COMMON                      4,104   COMMON STOCK
8214 LALLAROOK DR
COLUMBUS, GA 31909-2493

DAVID GRENIER                                                          COMMON                       205    COMMON STOCK
14407 LAWTON RIDGE DR
CYPRESS, TX 77429-4875

DAVID KESSLER SR                                                       COMMON                      7,484   COMMON STOCK
200 MARINA DRIVE
EUFAULA, AL 36027

DAWN PICARD                                                            COMMON                       591    COMMON STOCK
2009 ALLIGATOR ALLEY
NEW IBERIA, LA 70560

DEEPAK GUSAIN                                                          COMMON                      1,504   COMMON STOCK
14515 BRIAR FOREST DR
APT 1137
HOUSTON, TX 77077-2095

DESJARDINS SECURITIES INC.** (5028)                                    COMMON                       175    COMMON STOCK
ATTN KARLA DIAZ FOR MATERIALS
VALEURS MOBILIARES DESJARDINS
2, COMPLEXE DESJARDINS TOUR EST
MONTREAL, QC H5B 1B4
CANADA

DON CONKLE                                                             COMMON                 100,329      COMMON STOCK
[ADDRESS REDACTED]

DON WILSON                                                             COMMON                       218    COMMON STOCK
110 KENTUCKY DOWNS
PERRY, GA 31069

DOUG COLLINS                                                           COMMON                      1,655   COMMON STOCK
211 BRAHMWELL
LAFAYETTE, LA 70508-1827

E- TRANSACTION CLEARING (0873)                                         COMMON                       104    COMMON STOCK
ATTN JANE BUHAIN OR PROXY MGR
660 S. FIGUEROA STREET
SUITE 1450
LOS ANGELES, CA 90017




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In re: Carbo Ceramics, Inc.                                                             Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

EDWARD JONES (0057)                                                    COMMON                 146,529      COMMON STOCK
ATTN DEREK ADAMS OR PROXY DEPT.
CORPORATE ACTIONS & DISTRIBUTION
12555 MANCHESTER ROAD
ST. LOUIS, MO 63131

ELLEN SMITH                                                            COMMON                  38,475      COMMON STOCK
[ADDRESS REDACTED]

ERIC DEPRIEST                                                          COMMON                      1,882   COMMON STOCK
608 ALMONASTER RD
YOUNGSVILLE, LA 70592

ERIK HULSE                                                             COMMON                      2,966   COMMON STOCK
2722 RAINFLOWER MEADOW LN
KATY, TX 77494-7814

ERNESTO BAUTISTA III                                                   COMMON                  20,708      COMMON STOCK
[ADDRESS REDACTED]

ETRADE/APEX (0158/0385)                                                COMMON               2,362,362      COMMON STOCK
C/O BROADRIDGE SECURITIES PROCESSING
ATTN: YASMINE CASSEUS
2 GATEWAY CENTER
NEWARK, NJ 07102

FAISAL SALEEM                                                          COMMON                        84    COMMON STOCK
1205 SAND JACK DR
CORINTH, TX 76208-5457

FLORINE MESTAYER                                                       COMMON                       391    COMMON STOCK
509 PATRICK DR
BROUSSARD, LA 70518-4743

FLORINE MESTAYER                                                       COMMON                       798    COMMON STOCK
509 PATRICK DRIVE
BROUSSARD, LA 70518-4743

FOLIO (FN) INVESTMENTS, INC. (0728)                                    COMMON                      3,304   COMMON STOCK
ATTN ASHLEY THEOBALD OR PROXY MGR
8180 GREENSBORO DRIVE
8TH FLOOR
MCLEAN, VA 22102

GARY KOLSTAD                                                           COMMON                  59,007      COMMON STOCK
[ADDRESS REDACTED]



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In re: Carbo Ceramics, Inc.                                                             Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class     Number of          Kind of
business of holder                                                                        Securities         Interest

GEORGE KING                                                            COMMON                       124    COMMON STOCK
2103 OLD DIXIE
RICHMOND, TX 77469-6814

GILBERTO VILLELA                                                       COMMON                       333    COMMON STOCK
17023 VISTA PARK DR
SAN ANTONIO, TX 78247-4671

GLENN BROUSSARD                                                        COMMON                      1,822   COMMON STOCK
205 GASLIGHT LANE
YOUNGSVILLE, LA 70592-5388

GMP SECURITIES L.P.** (5016)                                           COMMON                  33,900      COMMON STOCK
ATTN TERRY YOUNG OR PROXY MGR
145 KING STREET WEST
SUITE 1100
TORONTO, ON M5H 1J8
CANADA

GOLDMAN SACHS (0005)                                                   COMMON                  53,292      COMMON STOCK
ATTN MEGHAN SULLIVAN OR PROXY DEPT
30 HUDSON STREET
JERSEY CITY, NJ 07302

GREGORY KLOOSTERMAN                                                    COMMON                       181    COMMON STOCK
3348 SYLVAN ROAD
BETHEL PARK, PA 15102

H E LENTZ JR                                                           COMMON                  35,198      COMMON STOCK
[ADDRESS REDACTED]

HAROLD JOHNSON                                                         COMMON                      3,162   COMMON STOCK
121 FIELD CREST PKWY
YOUNGSVILLE, LA 70592

HENRY BRIDGES                                                          COMMON                       234    COMMON STOCK
12730 ROBINS CREST DR
TOMBALL, TX 77377

HILLTOP SECURITIES (0279)                                              COMMON                  12,680      COMMON STOCK
ATTN PROXY DEPT.
1201 ELM STREET
SUITE 3500
DALLAS, TX 75270




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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

HSBC BANK USA, NA/CLEARING (8396)                                       COMMON                  27,207      COMMON STOCK
ATTN BARBARA SKELLY OR PROXY MGR
545 WASHINGTON BLVD
10TH FLOOR
JERSEY CITY, NJ 07310

IGOR STELIN                                                             COMMON                      3,811   COMMON STOCK
1895 BEACON ST APT 1
BROOKLINE, MA 02445-4240

INDUST & COMM BANK OF CHINA (0824)                                      COMMON                      3,500   COMMON STOCK
ATTN HENRY NAPIER OR PROXY MGR
1633 BROADWAY, 28TH FLOOR
NEW YORK, NY 10019

INTERACTIVE BROKERS (0534)                                              COMMON                 758,201      COMMON STOCK
ATTN KARIN MCCARTHY OR PROXY DEPT.
2 PICKWICK PLAZA, 2ND FLOOR
GREENWICH, CT 06830

J.P. MORGAN/CLEARING (0352)                                             COMMON                 119,660      COMMON STOCK
ATTN CORPORATE ACTIONS TEAM
500 STANTON CHRISTIANA RD. NCC5 FL3
NEWARK, DE 19713

JACK YUAN YI SHENG                                                      COMMON                       490    COMMON STOCK
1536 SPRING LAKE DR
KELLER, TX 76248-8908

JAMES BEVILL                                                            COMMON                      4,344   COMMON STOCK
119 BENTWOOD CIRCLE
MACON, GA 31210-4000

JAMES HOGAN                                                             COMMON                      2,252   COMMON STOCK
1401 MCLENDON RD
DUBLIN, GA 31021

JAMES LUVER SMITH                                                       COMMON                      1,121   COMMON STOCK
PO BOX 744
CLAYTON, AL 36016-0744

JAMES OSBY                                                              COMMON                       666    COMMON STOCK
846 BENT LEAF DR
DALLAS, GA 30132

JAMIE EFURD                                                             COMMON                      2,606   COMMON STOCK
2207 SPRING LAKE PARK LANE
SPRING, TX 77386
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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

JANNEY MONTGOMERY SCOTT INC. (0374)                                     COMMON                       251    COMMON STOCK
ATTN CORPORATE ACTIONS
1717 ARCH ST
17TH FL
PHILADELPHIA, PA 19103-1675

JASON GOODWIN                                                           COMMON                      3,628   COMMON STOCK
1615 WEST ROSE TERRACE LANE
HOUSTON, TX 77055

JASON TORRES                                                            COMMON                       690    COMMON STOCK
12503 RANCH SUMMIT
SAN ANTONIO, TX 78245-3178

JEREMY CARTER                                                           COMMON                       433    COMMON STOCK
3941 HOLLOW LAKE RD
ROANOKE, TX 76262-3833

JESSICA ESCALANTE                                                       COMMON                        91    COMMON STOCK
1922 BLUEWATER BAY DRIVE
KATY, TX 77494-6219

JOEL LAMB                                                               COMMON                      2,717   COMMON STOCK
527 FLAT SHOAL RD
GRAY, GA 31032-4639

JOHN CANFIELD                                                           COMMON                       273    COMMON STOCK
17696 COUNTY ROAD 112
BRISTOL, IN 46507

JOHN DOUGLAS                                                            COMMON                      5,708   COMMON STOCK
17102 UPTON HILL DR
CYPRESS, TX 77433-5092

JOHN KULLMAN                                                            COMMON                       220    COMMON STOCK
8498 EAST LIGHTENING VIEW DRIVE
PARKER, CO 80134-5823

JOHN L HETTRICK                                                         COMMON                       150    COMMON STOCK
115 MEADOW ROAD
BUFFALO, NY 14216-3613

JOSHUA VOGT                                                             COMMON                       214    COMMON STOCK
1204 EAST HAMPTON DR
STATESBORO, GA 30461




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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

JOY CAMPBELL                                                            COMMON                      2,875   COMMON STOCK
130 E EDITH RD
LAFAYETTE, LA 70508-7904

JPMORGAN CHASE (0902, 1970)                                             COMMON                 354,998      COMMON STOCK
ATTN JEFF LAZARUS OR REORG MGR NY1-C094
4 METROTECH CENTER - 3RD FLOOR
BROOKLYN, NY 11245

JUDITH G KUHLMANN                                                       COMMON                       150    COMMON STOCK
106 GREENRIDGE AVE
WHITE PLAINS, NY 10605-2418

KAHLIL BOWEN                                                            COMMON                       237    COMMON STOCK
445 SPYGLASS DRIVE
WILLOW PARK
BOERNE, TX 78006

KATHRYN TUCKER                                                          COMMON                       666    COMMON STOCK
25627 CORONADO BLUFF
SAN ANTONIO, TX 78260

KEITH LEW                                                               COMMON                       187    COMMON STOCK
20310 MONICA JOYCE LN
CYPRESS, TX 77433

KEN SMITH                                                               COMMON                       346    COMMON STOCK
10207 RUSSET FIELD CT
HOUSTON, TX 77070-3448

KENN JOHNSON                                                            COMMON                      3,760   COMMON STOCK
1 SANDAY RD
ABERDEEN AB15 6DS
UNITED KINGDOM

KENNETH LANGEVIN                                                        COMMON                      3,528   COMMON STOCK
7519 WILLOW SCHOOL DR
SPRING, TX 77389-1502

KEYBANK NATIONAL ASSOCIATION (2205)                                     COMMON                      1,000   COMMON STOCK
ATTN WILLIAM WEBBER OR PROXY MGR
4900 TIEDEMAN ROAD
BROOKLYN, OH 44144

KIMBERLEY EESON                                                         COMMON                       234    COMMON STOCK
302 CONOLY ST
HOUSTON, TX 77009

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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

KOKFOONG CHAN                                                           COMMON                       807    COMMON STOCK
10221 CENTREPARK DR
APT 1727
HOUSTON, TX 77043

KORAS SHAH                                                              COMMON                       978    COMMON STOCK
25023 LENORA DRIVE
KATY, TX 77493

LARRY L PERKINS                                                         COMMON                       396    COMMON STOCK
1613 CARRUTH LN
SOUTHLAKE, TX 76092-3942

LEE REYNAUD                                                             COMMON                       466    COMMON STOCK
1000 BERRY ST
CELINA, TX 75009-1624

LEK SECURITIES CORPORATION (0512)                                       COMMON                  94,135      COMMON STOCK
ATTN DANIEL HANUKA OR PROXY MGR
1 LIBERTY PLAZA
52ND FLOOR
NEW YORK, NY 10006

LPL FINANCIAL CORPORATION (0075)                                        COMMON                  38,648      COMMON STOCK
ATTN CORPORATE ACTIONS
1055 LPL WAY
FORT MILL, SC 29715

MARK THOMAS                                                             COMMON                      8,296   COMMON STOCK
[ADDRESS REDACTED]

MARLENE KAY MCGILL                                                      COMMON                        10    COMMON STOCK
22602 CORAINDER
MAGNOLIA, TX 77355

MARSCO INVESTMENT CORP (0287)                                           COMMON                        70    COMMON STOCK
ATTN KAREN JACOBSEN OR PROXY MGR
101 EISENHOWER PARKWAY
ROSELAND, NJ 07068

MARSHALL WOLF                                                           COMMON                         1    COMMON STOCK
BOX 730 STATION A
TORONTO, ON M5W 1G2
CANADA

MARTY BEACHAM                                                           COMMON                      1,000   COMMON STOCK
1310 FRED BEACHAM RD
ROCKLEDGE, GA 30454-1113
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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

MATTHEW CONWAY                                                          COMMON                       165    COMMON STOCK
1700 CONRIDGE DR
EDMOND, OK 73034-6863

MEDIANT COMMUNICATIONS                                                  COMMON                  88,142      COMMON STOCK
STEPHANY HERNANDEZ
100 DEMAREST DRIVE
WAYNE, NJ 07470

MICHAEL ERICKSON                                                        COMMON                        39    COMMON STOCK
PO BOX 1189
EVANSTON, WY 82931-1189

MICHAEL MAROTZ                                                          COMMON                      2,161   COMMON STOCK
25939 RAVENSIDE DR
KATY, TX 77494

MICHAEL STOCK                                                           COMMON                       693    COMMON STOCK
1139 DETROIT ST
DENVER, CO 80206-3327

MIKE SHADE                                                              COMMON                      5,534   COMMON STOCK
15003 QUINCE CT
THORNTON, CO 80602

MINJUNG CHO                                                             COMMON                       187    COMMON STOCK
24714 TOP MARK
KATY, TX 77494

MIZUHO TRUST & BANKING CO (2888)                                        COMMON                       500    COMMON STOCK
ATTN ROBERT KOWALEWSKI OR PROXY MGR
666 FIFTH AVENUE
NEW YORK, NY 10103

MORGAN STANLEY (0015, 0050, 7309)                                       COMMON                 870,134      COMMON STOCK
ATTN MS PROXY DEPARTMENT
1300 THAMES STREET WHARF
BALTIMORE, MD 21231

NATHANIEL S RUBIN EX                                                    COMMON                  22,200      COMMON STOCK
EST ROBERT S RUBIN
15 CLARK ST # 3A
BROOKLYN, NY 11201




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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

NATIONAL FINANCIAL SVCS. (0226)                                         COMMON               2,355,073      COMMON STOCK
ATTN SEAN COLE OR PROXY DEPT.
NEWPORT OFFICE CENTER III
499 WASHINGTON BOULEVARD
JERSEY CITY, NJ 07310

NBCN INC. /CDS (5008)                                                   COMMON                  24,945      COMMON STOCK
ATTN DANIEL NTAP OR PROXY MGR
1010 RUE DE LA GAUCHETIERE ST. WEST
SUITE 1925
MONTREAL, QC H3B 5J2
CANADA

NHAN NGUYEN                                                             COMMON                       469    COMMON STOCK
4807 BELLAIRE BLVD
BELLAIRE, TX 77401

NICOLAS LOPEZ                                                           COMMON                      3,009   COMMON STOCK
27530 LLANO MEADOWS LN
FULSHEAR, TX 77441

NICOLE STARR                                                            COMMON                      1,593   COMMON STOCK
8421 MORITZ GREEN
HOUSTON, TX 77055

NIJAT GULIYEV                                                           COMMON                       229    COMMON STOCK
21803 BENT ARBOR
KATY, TX 77450

NORTHERN TRUST COMPANY, THE (2669)                                      COMMON                      9,988   COMMON STOCK
ATTN ANDREW LUSSEN OR PROXY MGR
801 S. CANAL STREET
ATTN: CAPITAL STRUCTURES-C1N
CHICAGO, IL 60607

OLATUNJI OREKHA                                                         COMMON                       459    COMMON STOCK
12 PLUMAS DR
DURHAM, NC 27705-6196

OMAR HINOJOS                                                            COMMON                        30    COMMON STOCK
1508 CANAAN RD
ANDREWS, TX 79714

OPPENHEIMER & CO. INC. (0571)                                           COMMON                      9,714   COMMON STOCK
ATTN COLIN SANDY OR PROXY MGR
85 BROAD STREET, 4TH FLOOR
NEW YORK, NY 10004

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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

PAUL HOWARD                                                             COMMON                      6,298   COMMON STOCK
[ADDRESS REDACTED]

PERSHING (0443)                                                         COMMON                 332,569      COMMON STOCK
ATTN JOSEPH LAVARA OR PROXY DEPT.
1 PERSHING PLAZA
JERSEY CITY, NJ 07399

PNC BANK, NA (2616)                                                     COMMON                      3,445   COMMON STOCK
ATTN EILEEN BLAKE OR PROXY MGR
8800 TINICUM BLVDT
MS F6-F266-02-2
PHILADELPHIA, PA 19153

PRAGNYA MARUWADA                                                        COMMON                       190    COMMON STOCK
2501 CIMMARON DR
PLANO, TX 75025

QIANMEI ZHANG                                                           COMMON                       757    COMMON STOCK
24802 COBBLE CANYON LANE
KATY, TX 77494

QUESTRADE INC./CDS (5084)                                               COMMON                  49,928      COMMON STOCK
ATTN AL NANJI OR PROXY MGR
5650 YONGE STREET
TORONTO, ON M2M 4G3
CANADA

RANDY L LIMBACHER                                                       COMMON                  39,190      COMMON STOCK
[ADDRESS REDACTED]

RAYMOND JAMES & ASSOCIATES (0725)                                       COMMON                  92,571      COMMON STOCK
ATTN ROBERTA GREEN OR PROXY MGR
880 CARILION PARKWAY
TOWER 2, 4TH FLOOR
ST. PETERSBURG, FL 33716

RBC CAPITAL MARKETS CORP (0235)                                         COMMON                 708,813      COMMON STOCK
ATTN STEVE SCHAFER OR PROXY MGR
60 S 6TH ST - P09
MINNEAPOLIS, MN 55402-1106

RBC DOMINION /CDS (5002)                                                COMMON                 154,693      COMMON STOCK
ATTN PROXY MGR
2 BLOOR STREET E # 2300
TORONTO, ON M4W 1A8
CANADA

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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

RELIANCE TRUST CO (2042, 5409)                                          COMMON                      9,600   COMMON STOCK
ATTN TONIE MONTGOMERY
1100 ABERNATHY ROAD
SUITE 400
ATLANTA, GA 30328

RICARDO SANTANDER                                                       COMMON                      3,134   COMMON STOCK
2003 RED WREN CIR
KATY, TX 77494

RICHARD ALLEN                                                           COMMON                      1,245   COMMON STOCK
115 HICKORY HOLLOW
EATONTON, GA 31024-7405

RICHARD DAVIS                                                           COMMON                       333    COMMON STOCK
6351 PRAIRIE BRUSH TRL
ARGYLE, TX 76226-1835

RICHARD LABUTKA                                                         COMMON                       142    COMMON STOCK
3251 34TH AVE N
SAINT PETERSBURG, FL 33713-1524

RICHARD THURSTON                                                        COMMON                      3,330   COMMON STOCK
404 FENCELINE DR
ARGYLE, TX 76226-1263

ROBERT DUENCKEL                                                         COMMON                      1,172   COMMON STOCK
13872 WINDY OAKS RD
COLORADO SPRINGS, CO 80921-2917

ROBERT W. BAIRD & CO. INC. (0547)                                       COMMON                  36,647      COMMON STOCK
ATTN JAN SUDFELD OR PROXY MGR
777 E. WISCONSIN AVENUE
19TH FLOOR
MILWAUKEE, WI 53202

ROBERT WILLETTE                                                         COMMON                  11,689      COMMON STOCK
[ADDRESS REDACTED]

SAAD ULABY                                                              COMMON                      6,673   COMMON STOCK
3423 CREEKSTONE DR
SUGAR LAND, TX 77479-2419

SAMUEL E JOHNSON TR 06/02/97                                            COMMON                         1    COMMON STOCK
THE JOHNSON REVOCABLE TRUST
BOX 271
YUBA CITY, CA 95992-0271

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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

SCOTIA CAPITAL /CDS (5011)                                              COMMON                  41,333      COMMON STOCK
ATTN EVELYN PANDE OR PROXY DEPT.
SCOTIA PLAZA
40 KING STREET W, 23RD FL
TORONTO, ON M5H 1H1
CANADA

SCOTT BERRY                                                             COMMON                       514    COMMON STOCK
5050 WESTWAY PARK BLVD
STE 150
HOUSTON, TX 77041-2018

SEI PRIVATE TRUST COMPANY (2663)                                        COMMON                      3,000   COMMON STOCK
ATTN ERIC GREENE OR PROXY MGR
ONE FREEDOM VALLEY DRIVE
OAKS, PA 19456

SG AMERICAS SECURITIES, LLC (0286)                                      COMMON                  26,249      COMMON STOCK
ATTN PAUL MITSAKOS OR PROXY MGR
1221 AVENUE OF THE AMERICAS
NEW YORK, NY 10020

SHANE HEBERT                                                            COMMON                       790    COMMON STOCK
1636 LA HWY 83
FRANKLIN, LA 70538

SHANNON CLARKSON                                                        COMMON                      9,049   COMMON STOCK
[ADDRESS REDACTED]

SHELLY ROSEN                                                            COMMON                       234    COMMON STOCK
602 ELLINGHAM DR
KATY, TX 77450

SIGMUND L CORNELIUS                                                     COMMON                      7,500   COMMON STOCK
[ADDRESS REDACTED]

SOUVIK MUKHERJEE                                                        COMMON                       192    COMMON STOCK
27018 DOWNING PARK BLVD
KATY, TX 77494

SPENCER STONE                                                           COMMON                       206    COMMON STOCK
33018 THOUSAND OAKS BLVD
MAGNOLIA, TX 77354

STANFORD RICKERT                                                        COMMON                       606    COMMON STOCK
41 S PONY MEADOWS DR
WICHITA, KS 67232-9214

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In re: Carbo Ceramics, Inc.                                                              Case No.
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                               LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

STANISLAV SHELUDKO                                                      COMMON                      1,788   COMMON STOCK
28727 PRIMROSE BLUFF DR
KATY, TX 77494

STATE STREET (0997, 2399)                                               COMMON                 200,302      COMMON STOCK
ATTN PROXY DEPARTMENT
1776 HERITAGE DRIVE
NORTH QUINCY, MA 02171

STEPHEN LOVE                                                            COMMON                  26,643      COMMON STOCK
[ADDRESS REDACTED]

STEVEN HOWE                                                             COMMON                        30    COMMON STOCK
4328 AHWICK GRN
HILLIARD, OH 43026-7582

STEVEN MANIER                                                           COMMON                      3,964   COMMON STOCK
POBOX 147 W5601 PINE VIEW RD
NEILLSVILLE, WI 54456-0147

STIFEL NICOLAUS & CO. (0793)                                            COMMON                 339,491      COMMON STOCK
ATTN CHRIS WIEGAND OR PROXY DEPT.
C/O MEDIANT COMMUNCATIONS
501 N. BROADWAY
ST. LOUIS, MO 63102

STOCKCROSS FINANCIAL (0445)                                             COMMON                  10,800      COMMON STOCK
ATTN DIANE TOBEY OR PROXY MGR
77 SUMMER STREET
BOSTON, MA 02210

SUMITOMO TRUST & BANKING (2779)                                         COMMON                       200    COMMON STOCK
ATTN BETH MUELLER OR PROXY MGR
527 MADISON AVENUE
NEW YORK, NY 10022

T MICHAEL MORRIS &                                                      COMMON                        50    COMMON STOCK
LINDA W MORRIS JT TEN
PO BOX 644
ISLE OF PALMS, SC 29451-0644

TARLOCHAN SINGH                                                         COMMON                       400    COMMON STOCK
1106 MOONMIST LANE
BAKERSFIELD, CA 93311-3530




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In re: Carbo Ceramics, Inc.                                                              Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                    (Continuation Sheet)




Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

TD AMERITRADE CLEARING, INC. (0188)                                     COMMON               3,082,403      COMMON STOCK
ATTN MANDI FOSTER OR PROXY MGR
1005 AMERITRADE PLACE
BELLEVUE, NE 68005

TD WATERHOUSE CANADA INC. /CDS (5036)                                   COMMON                 293,409      COMMON STOCK
ATTN YOUSUF AHMED OR PROXY MGR
77 BLOOR STREET WEST
3RD FLOOR
TORONTO, ON M4Y 2T1
CANADA

TERRY KIKER                                                             COMMON                       346    COMMON STOCK
5512 SUNDANCE COURT
MIDLAND, TX 79707

TERRY PALISCH                                                           COMMON                  13,091      COMMON STOCK
3103 WYNDHAM LANE
RICHARDSON, TX 75082-3133

THU LIENG                                                               COMMON                      3,051   COMMON STOCK
20926 FLOWER CROFT CT
RICHMOND, TX 77407-4488

TIMOTHY A KRIEGSHAUSER                                                  COMMON                      3,961   COMMON STOCK
1335 BENT TRAIL CR
SOUTHLAKE, TX 76092-9415

TODD ROPER                                                              COMMON                      3,187   COMMON STOCK
25606 LUNA VISTA LN
KATY, TX 77494-4088

TRADESTATION SECURITIES (0271)                                          COMMON                  31,717      COMMON STOCK
ATTN CORPORATE ACTIONS
8050 SW 10TH STREET, STE 2000
PLANTATION, FL 33324

U.S. BANK N.A. (2803)                                                   COMMON                       288    COMMON STOCK
ATTN PAUL KUXHAUS OR PROXY MGR
1555 N. RIVER CENTER DRIVE
SUITE 302
MILWAUKEE, WI 53212

UBS FINANCIAL SERVICES LLC (0221)                                       COMMON                 162,357      COMMON STOCK
ATTN PROXY DEPARTMENT - JANE FLOOD
1000 HARBOR BLVD
WEEHAWKEN, NJ 07086

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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                                 Security Class     Number of          Kind of
business of holder                                                                         Securities         Interest

UBS SECURITIES LLC (0642)                                               COMMON                  19,700      COMMON STOCK
ATTN MICHAEL HALLET OR PROXY MGR
PROXY DEPARTMENT
315 DEADRICK STREET
NASHVILLE, TN 37238

VANGUARD MARKETING CORP (0062)                                          COMMON                 708,693      COMMON STOCK
ATTN BEN BEGUIN OR PROXY MGR
14321 N. NORTHSIGHT BOULEVARD
SCOTTSDALE, AZ 85260

VIRTU AM (0295)                                                         COMMON                  10,542      COMMON STOCK
ATTN JANICA BRINK OR PROXY MGR
300 VESEY STREET
NEW YORK, NY 10282

VISION FINANCIAL MARKETS LLC (0595)                                     COMMON                      1,415   COMMON STOCK
ATTN OPS DEPT
120 LONG RIDGE ROAD, 3 NORTH
STAMFORD, CT 06902

WADHAH AL-TAILJI                                                        COMMON                      7,310   COMMON STOCK
27314 N SADDLE CREEK LN
FULSHEAR, TX 77441-1110

WEDBUSH (0103, 8199)                                                    COMMON                      2,286   COMMON STOCK
ATTN ALAN FERREIRA OR PROXY MGR
1000 WILSHIRE BLVD., SUITE #850
LOS ANGELES, CA 90030

WELLS FARGO CLEARING SERVICES LLC (0141)                                COMMON                 881,052      COMMON STOCK
ATTN PROXY DEPARTMENT
H0006-08N
2801 MARKET STREET
ST. LOUIS, MO 63103

WELLS FARGO SECURITIES, LLC (0250)                                      COMMON                        66    COMMON STOCK
ATTN SCOTT NELLIS OR PROXY MGR
CORP ACTIONS - MAC D109-010
1525 WEST W.T. HARRIS BLVD, 1B1
CHARLOTTE, NC 28262

WILLIAM BISHOP                                                          COMMON                       433    COMMON STOCK
160 SPRING RUN ROAD
DECATUR, TX 76234



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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                                 Security Class     Number of       Kind of
business of holder                                                                         Securities      Interest

WILLIAM C MORRIS                                                        COMMON               2,708,859   COMMON STOCK
[ADDRESS REDACTED]

WILLIAM POPE                                                            COMMON                      79   COMMON STOCK
538 BLUFF VIEW DR
RINGGOLD, GA 30736-2562




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